           Case 1:19-cr-00034-JPJ-PMS Document 27 Filed 11/26/19 Page 1 of 7 Pageid#: 79
  ko245: tl
          uv.09/19-va.
                     wAai
                        tionsâ5/17)Judgmenti
                                           nacriminalcase
               sheet1


                                             TED STATES DISTRICT C0                                    T
                                                 W estern D istrictofV irginia
           UNITED STATESOF AM ERICA                                    JUDGM ENT IN A CRIM INAL CASE
                           V.                                          casexumber: ovAw llgcRoooo3zsool
             SAM ANTHA M ARIE M ILLER                                  Case N um ber:
                                                                       U SM N umber: 22666-084
  à                                                                    M ichaelBragg
  T                                                                    Defendant'sAttorney
THE DEFENDANT'         .
X pleadedguiltytocountts) One(1)ofthelnfonnation
 i
Z.pleadednolocontenderetocountts)
      which wasacceptedbythecourt.
Z.wasfoundguiltyoncountts)
  .   afterapleaofnotguilty,

Tiledefendantisadjtldicatedguiltyoftheseoffenses:
  Title & Section              N atureofOffense                                                        O ffense Ended             Count
21.U SC Sections841 Possession with theIntentto Distribute 500 Grams                                       10/3/18
(a)(1)and
84'
  .1(b)(1)(A)



         Thedefendantissentencedasprovidedinpages2through                    7       ofthisjudgment.Thesentenceisimposedpurstlantto
the Sentencing Reform Actof1984.
Z:Thedefendanthasbeenfoundnotguiltyoncountts)
E(
 1Countts)
 !                                          Z is Z aredismissedonthemotionoftheUnitedStates.
        iliItisorderedthatthedefendptmustnotifytheUnltedStatesattorpeyforthisdiltrictwithin30daysofpnychangeofname,residepce
t
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    defenja
          andt
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              resst
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                                                                                                                lyes
                                                                                                                   pald.Iforderedtopayiestitutlon,
                                                                       N ovem ber26,2019
                                                                       DateofImpositionofJudgment


                                                                       Signat e fJudge



                                                                       JamesP.Jones,U nited StatesD istrictJudge
                                                                      NameandTitleofJudge

                                                                             # ZJ 1/
                                                                      Date
    :
 ;    Case 1:19-cr-00034-JPJ-PMS Document 27 Filed 11/26/19 Page 2 of 7 Pageid#: 80
 1
AO2458 (Rev.09/19-VAW Additions05/17)JudgmentinCrimi
                                                   nal
             CaseSheet2 -Imprisomnent           .                           ..-                         --       .. -              .


 i                                                                                            Judgment-Page     2       of     7
D EFEN DA N T:     SAM ANTHA M ARJE M ILLER
CA SE NU M BER :DVAW 119CR000034-001

                                                         IM PRISONM ENT
         The defendantislzereby com mitted to thecustody oftheFederalBureau ofPrisonsto be im prisoned foratotalterm of:

    i
    !
      Fiftpseven(57)months.



    fIEI Thecoul
               'tmakesthefollowingrecolumendationstotheBureauofPrisons:
    1Thedefendantbedesignatedtoafacilityclosestto theM uncy/FortW ayne, Indiana area,in orderto facilitatevisitsfrom fam ily
    ,members.
    !

    l
    )
      FX-I ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
    3
    (U'1 ThedefendantshallsurrendertotheUni
                                          tedStatesMarshalforthisdistrict:
    i
    i    1
         -1 at                            EEI aam. !-1 pm .     .      on

    '    r'
          -I asnotisedby theunited statesM arshal.
    'F-l Thedefendantshallsurrenderforserviceofsentenceattheinstitution designatedbytheBureau ofPrisons:
    )
               before          on
         N     asnotifiedby theUnitedStatesM arshal.
         N     asnotifiedby theProbationorPretrialServicesOffice.

'
                                                              R ETU R N
    !
    Ihaveexecutedthisjudgmentasfollows:
    !




'
         Defendantdelivered on                                                    to
    ;
    iI                                          >   withacexifiedcopyof-thisjudgment.
    i
    :

                                                                                           IJNITED STATESMARSHAL

                                                                    By
                                                                                        DEPUTY UNITED STATESMARSHAL
        Case 1:19-cr-00034-JPJ-PMS Document 27 Filed 11/26/19 Page 3 of 7 Pageid#: 81

AO2458 (Rev.09/19-VAW Additions05/17)JudgmentinaCriminalCase
 .       Sheet3- SupervisedRelease
 ,                                                                                       x dgment-page   3   of       7
DEFENDANT:              SAMANTHA M ARIE MILLER
UASE NUM BER:DVAW 119CR000034-001
 l                                              SUPERVISED RELEA SE
 :
tlponreleasefrom imprisonment,youwillbeonsupervisedreleaseforaterm of:
Three(3)years.




                                             M AND ATOR Y CONDITION S
i
1.
'
   Y ou mustnotcom m itanotherfederal,state orlocalcrim e.
2. (71Youmustmakerestitutioninaccordancewithsections3663and3663A,oranyotherstatuteauthorizingasentenceof
:     restitution.(ckeckfapplicable)
j. Youmustnotunlawfullypossessacontrolledsubstance       .

     Y oum ustrefrain from any unlawftlluseofacontrolledsubstance.Yçum ustsubm ittoonedrugtestw ithin 15daysofreleasefrom
     imprisonm entand atIeasttwo periodic drug teststhereafter,asdeterm ined by thecoul't.
            EIITheabovedrugtestingconditionissuspended,basedonthecourt'sdeterminationthatyou
               posealow risk offuturesubstanceabuse.(check(fapplicable)
     ((
      EIYoumustcooperateinthecollectionofDNA asdirectedbytheprobationofficer.(checkkapplicable)
     E4(
       )YoumustcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(34U.S.C.j20901,etseq.jas
        directedbytheprobationofficer,theBureauofPrisons,orany statesexoffenderregistrationagency inw hichyoureside, work,
)       areastudent,orwereconvicted ofaqualifying offense.(checkçapplicable)
7. (71Youmustparticipateinanapprovedprogram fordomesticviolence.(checky'
                                                                       tz
                                                                        lw/fccdge?
Youmustcomplywiththestandard conditionsthathavebeenadopted bythiscourtaswellasw ithany otherconditionsontheattached
Page.
          Case 1:19-cr-00034-JPJ-PMS Document 27 Filed 11/26/19 Page 4 of 7 Pageid#: 82

            (Rev.09/19-VAW Additions05/17)JudgmentinaCriminalCase
            Sheet3A - Supel-visedRelease                                                  '        -       .   -       .- .   --         .
                                                                                 -

                                                                                                Jtldgment-page     4          of   7
 DEFENDANT:       SAM ANTHA M ARIE M ILLER
 CASE N UM BER:DVAW I19CR000034-001
                                     STANDARD CO NDITIO NS OF SUPERW SIO N

Aspartofyoursupelwisedrelease,you1-     1:1stcomplywiththefollowingstandardconditionsofsupelNision.Theseconditionsareim posed
becausetheyestablishthebasicexpectationsforyourbehaviorwhileonsupervision andidentifythem inim um toolsneededbyprobation
oflicersto keep inform ed,repol
                              'tto the courtabout,and bring aboutinp rovem entsin yourconductand condition.
  :

      Youmustreqorttotheprobationofficeinthefederaljudicialdistrictwhereyouareauthorizedtoresidewithin72hoursofyour
      releasefrom lm prisonment,unlesstheprobation officerinstructsyoutorepol'      ttoadifferentprobationofficeorwithinadifferenttime
      fram e.
      Afterinitially reporting to the probation office,you willreceive instructionsfroln thecourtorthe probation officerabouthow and
      when you mustrepol    -ttothe probation officer,and you m ustreportto the probation officerasinstructed.
      Youmustnotknowinglyleavethefederaijudicialdistrictwhereyouareauthorizedtoresidewithoutfirstgettingperlnissionfrom the
      courtortheprobation officer.
      You mustansw ertnlthfully the qtlestionsasked by yourprobation offscer.
      Youmustliveataplaceapprovedbytheprobationofficer.lfyouplantochangewhereyou Iiveoranythingabotltyotlrliving
      arrangements(suchasthepeopleyoulivewith),youmustnotlfythegrobationofficeratleast10daysbeforethechange.Ifnotifying
      theprobationofticerinadvanceisnotpossibleduetounanticipatedclrcum stances,you1mt1stnotifytheprobationofficerw ithin72
      hoursofbecolning awareofachangeorexgectedchange.
      You m ustallow theprobation officerto visltyou atany tim eatyourhom eorelsewhere,and you m ustperm ittheprobation officerto
      takeany itemsprohibitedbytheconditionsofyoursupmwisionthatheorsheobservesinplainview.
      Youmustworkfulltime(atleast30hoursperweek)atalawfultypeofemployment,unlesstheprobationoflicerexctlsesyoufrom
      doingso.lfyoudonothavefull-timeemploymentyoumusttry to find full-timeemployment,unlessthegrobationofficerexctlses
      youfrom dolngso.Ifyouplantochangewhereyouworkoranythingaboutyourwork(suchasyourpositlonoryourjob
      responsibilities),youmustnotifytheprobationofficeratleast10daysbeforethechange.lfnotifyingtheprobationofficeratleast10
    daysin advanceisnotpossible due to unanticipated circum stances,you mustnotify theprobation officerwithin 72 hours of
    becoming awareofachange orexpected change.
    You m ustnotcom municateorinteractwith som eone you know isengaged in criminalactivity. lfyou know som eonehas been
    convictedofafelony,youm ustnotknowingly comm unicateorinteractw iththatpersonwithoutfirstgettingtheperm issionofthe
    probation officer.
9.' lfyouarearrestedorquestionedby alaw enforcelnentofficer,yop mustnoti'  fytheprobation ofticerwithin72hpurs.
10. Youmustnotown,possess,orhaveaccesstoaGrearm,ammunhlon,destructlvedevice,ordangerousweapon(I.e.,anythingthatwas
    designed,orwasmodifiedfor,thespecificgurposeofcatlsingbodilyinjuryordeathtoanotherpersonsuchasnunchal
                                                                                                        tusortasers).
11. You mustnotactorlnake any agreelnentw lth a law enforcel
                                                           nentagency to actas aconfidentialhum an source orinformantw ithout
    firstgetting the penmission ofthe court.
12. lftheprobationofficerdeterminesthatyouposearisktoanotherperson(includinganorganization),theprobationofficermay
      requireyoutonotifytheperson abouttheriskandyoum ustcom plyw iththatinstruction.Theprobation officermay contactthe
      person and confirm thatyou havenotitsed tlzeperson abouttherisk.
      Youm ustfollow the instructionsoftheprobation officerrelated to the conditionsofsupelwision.



U .S.Probation O fficeUse Only
  @
A ;U .S.probation officerhas instructed me on theconditionsspecified by the courtand hasprovided me with awritten copy ofthis
jud
  1gmentcontainingtheseconditions.Forfurtherinformationregardingtheseconditions,seeOverview ofprobationandsupervised
RèleaseConditions,availableat:7,
                               f?1:,&çz.//â'c/l/?-/J.go)7.

Dbfendant'
         ssignature
  1

  :
  1
           Case 1:19-cr-00034-JPJ-PMS Document 27 Filed 11/26/19 Page 5 of 7 Pageid#: 83
 AO 2458     (Rev.09/19-VAW Additions05/17)JudgmentinaCriminalCase
             Sheet313-SupervisedRelease
                                                                                              Judgment-page     5    of       7
 D EFEN DAN T:             SAM ANTHA M ARIE M ILLER
 (V
  :
    SENUMBER:DVAW119CR000034-001
                                      SPECIAL CONDITIONS OF SUPERW SION
W hile on supervised release,the defendant:

(1)Mustpayanymonetarypenaltythatisimposedbythisjudglnentinthemannerdirectedbythecourt;
  :
(2)Mustresideinaresidencefreeoffireanns,ammtlnition,destnlctivedevices,anddangerousweapons;and
(3)Mustsubmithisorherperson,property,house,residence,vehicle,papers,Ecomputersasdefinedin18U.S.C.Section1030(e)(1),other
elpctroniccommunicationsordatastorageormediaj,oroffice,toasearchconductedbyaUnitedStatesprobationofticer.Failuretosubmit
to'asearchmaybegroundsforrevocationofrelcase.Thedefendantshallwarnanyotheroccupantsthatthcpremisesmaybesubjcctto
searchespursuantto thiscondition. An officerm ay conducta search pursuantto thiscondition only when reasonablesuspicion existsthatthe
defendanthasviolated a condition ofhis orhersupervision and thattheareasto be searched contain evidence ofthisviolation.
  l
           Case 1:19-cr-00034-JPJ-PMS Document 27 Filed 11/26/19 Page 6 of 7 Pageid#: 84
Aö2458      (Rev.09/19-VAW Additions05/17)Judgmenti
                                                  naCri
                                                      minalCase
    !        Sheet5-CriminalMonetaryPenalties
    .                                                                                            Judgment-page    6      of      7
DEFENDANT:     SAM ANTHA M ARIE M ILLER
CASE     ER:DVAW I19CR000034-001
                                            CR IM IN AT,M O N ET M W PEN A L TIES
        The defendantm ustpay thetotalcrim inalmonetary penaltiesundertheschedule ofpaymentson Sheet6.

 '      Assessm ent                       Restitution                 Fine             AVAA Assessm ent'
                                                                                                       k             ,
                                                                                                                     W TA Assssm ent**
TOTALS $ 100.00                         $                         $                S                             $


I
--I Thedeterminationofrestitutionisdeferreduntil                .AnAmendedxhldglnentinaCr/?3?ïz7(#Case(AO 245C)willbeentered
 l aftersuohdetermination.
    1
F-.I Thedefendantmustmakerestitution (includingcommunityrestittltion)tothefollowingpayeesintheamountlistedbelow.
'

    :   Ifthe defendantmakesapartialpaym ent,each payee shallreceive an approxim atel
                                                                                    y proportioned paym ent,unlessspecified otherw ise
    1
    ? inthepriorityorderorpercentagepaymentcolumnbelow.However,purstlantto18U.S.C j3664(i),a1lnonfederalvictimsmustbe
    !
        Paid before the United States ispaid.
Nam eofpayee
           - -                                          TotalLosssr*            Restitution O rdered             Priority or Percentage
    )
    7


    ;


    :




'é
TOTALS

        Restitutionamountorderedpursuanttopleaagreement$
        T'
         hedefendantmustpay interestonrestitution and afineofmorethan$2,500,unlesstherestitutionorfineispaid infullbeforethe
        fifteenthdayafterthedateofthejudgment,pursuantto18U.S.C.j3612(9.AllofthepaymentoptionsonSheet6maybesubject
        topenaltiesfordelinquencyanddefault,pursuantto l8U.S.C.j3612(g).
        The courtdetermined thatthedefendantdoesnothavethe ability to pay interestand itisordered that:
        1
        -1 theinterestrequircmentiswaivedforthe                     j--l restitution.
        F-l theinterestrequirelnentforthe                  F-1 restitutionismodifiedasfollows:

    *Amy,Vicky,and Andy Child Pornograpby Victim A ssistanceActof2012, Pub.L.No.115-299.
    ** JusticeforVictimsofTrafficking A ctof2015,Pub.L.N o.i14-22.
    #**Findingsforthetotalam ountoflossesarereqtliredunderChaptersl09A, 110,1IOA,and 113A ofTitlel8foroffensescomm itted
    onorafterSeptember13,1994,butbeforeApril23, 1996.
           Case 1:19-cr-00034-JPJ-PMS Document 27 Filed 11/26/19 Page 7 of 7 Pageid#: 85
AO 2458     (Rev.09/19-VAW Additions05/17)Judgmenti
                                                  naCriminalCase
            Sheet6-ScheduleofPayments

DEFENDAN T:      SAM AN THA M ARIE M ILLER                                                          Judgm ent-Page 7 of 7
CASE N UM BER:DVAW I19CR000034-001
                                               SCH ED ULE O F PA Y M EN TS
Hayingassessedthedefendant'sability topay,thetotalcriminalmoneta:y penaltiesaredueimmediatelyandpayableasfollows:
  7
A NX Lumpsum paymentof$100.00                   immediately,balancepayable
           (-1 notlaterthan                            ,or
  ,        F-l inaccordancewith I--IC, I--ID, I       --IE, r-lF or,r--lG belowl;or
B 'I--I Paymenttobeginimmediately(maybecombinedwith I      --IC, g--lD, I --IF,or I  --IG belowl;or
cI  --I Paymentinequal                        (e.g.,weekly,monthly,quarterly)installmentsof$                    overaperiodof
  E
                      (e.g.
                          ,monthsoryears),tocomme   nce                   (e.g.,30 or 60 days)afterthe dat
                                                                                                         e of t
                                                                                                              h i
                                                                                                                sjudgment;or
o r-l Paymentinequal                          (e.g.,weekly,monthly,quarterly)installmentsof$                    overaperiodof
  :
  '
                      (e.
                        g.,monthsoryears
                                       ),to comme  nc e                   (e.
                                                                            g .
                                                                              ,30 o r60 day s
                                                                                            ) aft
                                                                                                er rel
                                                                                                     ease fr
                                                                                                           o m imp risonmenttoa
          tenn ofsupervision;or
          Paymentduringtheterm ofsupervisedreleasewillcommencewithin                     (e.g.,30or60days)aflerreleasefrom
          imprisonm ent.Thecourtwillsetthopaym entplanbasedonan assessm entofthedefendant'sabilitytopayatthattime'
                                                                                                                 ,or
          Duringthetennofimprisonment,paymentinequal                      (e.g.,weekly,monthly,quarterly)installmentsof
          $               ,or         % ofthedefendant'sincome,whicheveris greater .tocommence                       (e.g.,30 or
          60days)afterthedateofthisjudgment;A'ND paymentinequal                        (e.g.,weekly,monthly,quarterly)
          installmentsof$                duringtheterm ofsupervisedrelease,tocommence                        (e.g.,30or60days)
          a/errelease from im prisonment.
G H Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:
  :
  (
AlïyinstallmentscheduieshallnotprecludeenforcementoftherestitmionortsneorderbytheUnitedStatesunder18U.S.C jj3613and
3664(119.
Ariyinstallmentscheduleissubjecttoadjustmentbythecoullatanytimeduringtheperiodofimprisonmentorsupervision,andthedefendant
shâllnotify theprobation officerand the U.S.Attorney ofany changein thedefendant'seconom ic circumstances thatm ay affectthe
defendant'sability to pay.
A11crim inalm onetary penaltiesshallbe madepayableto theClerk,U .S.DistrictCourt,210 Franklin Rd.,Suite540,Roanoke,V irginia 24011,
fordisbursem ent.
The defendantshallreceive creditforal1paym entspreviously made toward any crim inalm onetary penaltiesim posed.
Anyobligationtopayrestitutionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestittltionhasbeenorwiilbe
entered.
  U-lJointandSeveral
  l D fendantand Co-
  ,
  '
      e              DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,and
  ; corresponding payee,ifappropriate.
  :



  1
  -

  !
  U
  .-lThedefendantshallpaythecostofprosecution.
  I
  --1Thedefendantshallpaythefollowingcourtcostts):
  I
  --IThedefendantshallforfeitthedçfendant'
                                         sinterestinthefollowingpropertytotheUnitedStates:



  Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restittltionprincipal,(3)restitutioninterest,(4)AVAA assessment,
  (5)fincprincipal,(6)fineinterest,(7)communityrestitmion,(s)JVTA assessment,(9)penalties,and(10)costs,includingcostof
  prosecution and courtcosts.
